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10                      UNITED STATES DISTRICT COURT
11              FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                              WESTERN DIVISION
13      Mark Short,                                No. CV 22-01151-DMG (AGRx)
14                                 Plaintiff,      Notice of Motion and Motion to Dismiss;
                                                   Memorandum of Points and Authorities.
15                    – v. –
16      David Berger, et al.,                      Date: August 26, 2022
                                                   Time: 9:30 a.m.
17                                Defendants.      Place: First Street Courthouse
                                                          Courtroom 8C
18                                                        350 West First Street
                                                          Los Angeles, California 90012
19
                                                   Honorable Dolly M. Gee
20                                                 United States District Judge
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 1                               Notice of Motion to Dismiss
 2         Please take notice that Defendants David Berger, in his official capacity as
 3   Commandant of the Marine Corps, Carlos Del Toro, in his official capacity as
 4   Secretary of the Navy, and David Ottignon, in his official capacity as Deputy
 5   Commandant for Manpower and Reserve Affairs of the Marine Corps, will bring for
 6   hearing a motion to dismiss on August 26, 2022, at 9:30 a.m., before the Honorable
 7   Dolly M. Gee, United States District Judge, in courtroom 8C of the First Street
 8   United States Courthouse at 350 West First Street, Los Angeles, California 90012.
 9         The official capacity Defendants, by and through their counsel at the Civil
10   Division, United States Department of Justice, move to dismiss under Federal Rule
11   of Civil Procedure 12, on the grounds that Plaintiff Mark Short has failed to establish
12   this Court’s subject-matter jurisdiction or has failed to state a claim for relief. The
13   official capacity Defendants’ motion is based on this Notice of Motion and Motion;
14   the Memorandum of Points and Authorities; the declarations and documents
15   previously submitted in this case and attached hereto; and such other and further
16   arguments, documents, and grounds as may be advanced in the future.
17         This motion is made following the conference of counsel pursuant to L.R. 7-
18   3, which took place on May 9, May 13, and June 10, 2022.
19    Dated: June 17, 2022                 BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney
20                                         General
21                                         ALEXANDER K. HAAS
                                           Director, Federal Programs Branch
22
                                           ANTHONY J. COPPOLINO
23                                         Deputy Director, Federal Programs Branch
24                                         /s/Stuart J. Robinson
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25                                         Senior Counsel, Federal Programs Branch
26                                         Counsel for Official Capacity Defendants
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                                               2
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 1                                    INTRODUCTION
 2         Plaintiff, U.S. Marine Corps First Lieutenant Mark Short, serves in a unit that
 3   deploys throughout the Indo-Pacific area to coordinate air support missions for the
 4   military. In that role, Plaintiff works in confined spaces alongside other service
 5   members, and may be called upon at a moment’s notice to build Direct Air Support
 6   Centers (“DASCs”) on remote islands under austere conditions.
 7         Although Plaintiff has complied with many vaccination requirements during
 8   his military career, he requested a religious exemption from the directive that service
 9   members be vaccinated against COVID-19. The Marine Corps denied Plaintiff’s
10   request after multiple rounds of careful review. Plaintiff continued to refuse to
11   follow a lawful order to be vaccinated, and he subsequently filed this action to
12   challenge the Marine Corps’ COVID-19 vaccine directive, claiming that the
13   requirement violates his rights under the Religious Freedom Restoration Act
14   (“RFRA”), the First Amendment, 10 U.S.C. § 1107a, and the Administrative
15   Procedure Act (“APA”).
16         These theories are meritless. First, Plaintiff’s claims are not reviewable
17   pursuant to the Mindes test. Plaintiff still has not exhausted available intraservice
18   remedies, and his religious freedom claims are unpersuasive for the reasons
19   previously identified by the Court. Equally unavailing are Plaintiff’s claims under
20   § 1107a and the APA, particularly as Plaintiff has been offered doses of
21   Comirnaty—the COVID-19 vaccine licensed by the Food and Drug Administration
22   (“FDA”)—and the military is requiring only approved vaccines. Plaintiff also has
23   not identified any significant injury if this Court were to withhold review at this
24   juncture; by contrast, he improperly asks the Court to compel the Marine Corps to
25   overlook his unvaccinated status and the undue risk he poses to mission
26   accomplishment. For these reasons, and those discussed below, the Court should
27   dismiss Plaintiff’s First Amended Complaint.
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 1                                   BACKGROUND
 2   I.    The Marine Corps’ COVID-19 Vaccination Requirement
 3         “The COVID vaccination mandate should be understood against the backdrop
 4   of other military immunization mandates–which date back as far as General George
 5   Washington’s mandate that troops in the Continental Army be inoculated against
 6   smallpox.” Oklahoma v. Biden, --- F. Supp. 3d. ---, 2021 WL 6126230, at *8 (W.D.
 7   Okla. Dec. 28, 2021). DoD’s current immunization program is governed by DoD
 8   Instruction (“DoDI”) 6205.02. Nine vaccines are required for all service members,
 9   including the annual influenza vaccine, while eight others are required when certain
10   elevated risk factors are present, such as deployment to certain parts of the world.
11   See App. 067 (Air Force Instruction (“AFI”) 48-110_IP, Tbl. D-1).1 In general, DoD
12   aligns its immunization requirements for service members with recommendations
13   from the CDC’s Advisory Committee on Immunization Practices. Id. at 013 (DoDI
14   6205.02 at 3). The Military Services have separately issued regulatory guidance for
15   the administration of vaccines to service members, including processes concerning
16   medical and religious exemptions. See id. at 044-45 (DoDI 6205.02, Ch. 2.6).
17         On August 24, 2021, the day after FDA granted approval to the first COVID-
18   19 vaccine, the Secretary of Defense announced that vaccination against COVID-19
19   would be added to the list of required immunizations. First Am. Compl. ¶ 86, ECF
20   No. 49 (“FAC”); App. 004-05 (Mem. for Senior Pentagon Leadership (Aug. 24,
21   2021)). The Secretary explained that, “[a]fter careful consultation with medical
22   experts and military leadership,” he had concluded that “mandatory vaccination
23   against [COVID-19] is necessary to protect the Force and defend the American
24   people.” App. 004. On August 30, 2021, the Department of the Navy issued
25   implementing guidance for the Navy and the Marine Corps. FAC ¶ 21; App. 075
26
     1
27     The Appendix is located at ECF No. 17-1 and is attached hereto for ease of
     reference. Also attached are ECF No. 2-2 and ECF No. 32-1, cited below.
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 1   (ALNAV 062/21). The Secretary of the Navy directed all members of the Marine
 2   Corps to be fully vaccinated within 90 days. Id.
 3         In accordance with ALNAV 062/21, the Marine Corps issued guidance on
 4   September 1, 2021, which includes a process concerning medical and religious
 5   exemptions from the COVID-19 vaccine requirement. FAC ¶ 22; App. 080-81
 6   (MARADMIN 462/21 ¶¶ 3.j, 3.k); see App. 162-64 (Decl. of Adam Lyle Jeppe

 7   ¶¶ 4-7). The Marine Corps has an appeal process available to service members

 8   seeking religious exemptions if their initial requests are denied. App. 093-94 (Decl.
     of Peter D. Huntley ¶ 12.b). A service member who refuses vaccination without an
 9
     approved exemption is subject to discipline or adverse administrative action,
10
     including separation from service. Id. at 094-99 (Huntley Decl. ¶¶ 13-21). Only
11
     senior military officers may initiate adverse action for refusing vaccination. See id.
12
     at 081 (MARADMIN 462/21 ¶ 3.l). The Marine Corps has also decided that “[t]he
13
     least favorable characterization of service authorized for an officer refusing the
14
     vaccine is ‘General (under honorable conditions),’ unless inclusion of another basis
15   for separation warrants characterization of the officer’s service as ‘other than
16   honorable.’” MARADMIN 612/21 ¶ 4.b, attached hereto as Ex. A; FAC ¶ 24.
17   II.   Federal Regulation and Guidance Concerning COVID-19 Vaccines
18         FDA has authority to review and approve “biological products,” including
19   vaccines. 42 U.S.C. § 262(a)(1), (i)(1). In an emergency, FDA may issue an
20   “emergency use authorization” (“EUA”), which authorizes the marketing of
21   vaccines (and other FDA-regulated products) “intended for use” in responding to
22   the emergency, provided certain statutory criteria are met. 21 U.S.C. § 360bbb-3.
23         In March 2020, the Secretary of Health and Human Services determined that

24   “circumstances exist justifying the authorization of emergency use of drugs and
     biological products during the COVID-19 pandemic.” EUA Declaration, 85 Fed.
25
     Reg. 18,250, 18,250-51 (Apr. 1, 2020). Based on that determination, FDA issued
26
     an EUA for a COVID-19 vaccine developed by Pfizer, Inc., as well as EUAs for
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 1   two other COVID-19 vaccines. See FDA Takes Key Action in Fight Against
 2   COVID-19 By Issuing Emergency Use Authorization for First COVID-19 Vaccine,
 3   https://perma.cc/6HEG-C6VV; see also https://perma.cc/9A9L-RYMV (Moderna
 4   vaccine EUA); https://perma.cc/U2BJ-TR8S (Janssen vaccine EUA).

 5         On August 23, 2021, FDA approved a Biologics License Application

 6   (“BLA”) for the Pfizer vaccine, for individuals who are 16 years of age and older.
     FAC ¶ 88; FDA, BLA Approval, attached hereto as Ex. B; see also Biologics
 7
     License Applications (BLA) Process (CBER), https://perma.cc/S6RS-NPQ9. A
 8
     BLA is an application for approval to introduce, or deliver for introduction, a
 9
     biologic product into interstate commerce. 21 C.F.R. § 601.2. “Comirnaty”—the
10
     proprietary name of the COVID-19 vaccine manufactured by Pfizer—remains
11
     available under the EUA for the approved and other uses. FDA, Pfizer EUA Letter
12
     at 2, attached hereto as Ex. C; FAC ¶ 89. At the time of approval, FDA worked
13   with Pfizer to identify “BLA-compliant” lots of the vaccine, which are lots that were
14   manufactured in facilities listed in the BLA and that had undergone lot release, but
15   which bore the EUA label. FDA, Summary Basis for Regulatory Action (“SBRA”)
16   at 27, attached hereto as Ex. D. FDA additionally determined that the approved and
17   EUA vaccine have the same formulation, and could be used interchangeably
18   without presenting any safety or effectiveness concerns. FAC ¶ 90; Ex. C (Pfizer
19   EUA Letter) at 2. DoD relied on this determination, as well as FDA guidance that
20   health care providers may “use doses distributed under the EUA to administer the
21   vaccination series as if the doses were the licensed vaccine[,]” in deciding that

22   “DoD health care providers will use both the Pfizer-BioNTech COVID-19 vaccine
     and the Comirnaty COVID-19 vaccine interchangeably for the purpose of
23
     vaccinating Service members[.]” Acting Assistant Secretary of Defense Mem.
24
     (Sept. 14, 2021), attached hereto as Ex. E; FAC ¶ 96. On January 31, 2022, FDA
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     approved a second COVID-19 vaccine, Spikevax, manufactured by ModernaTX,
26
     Inc. FDA, BLA Approval, attached hereto as Ex. F.
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 1   III.   Factual Background
 2          A. Plaintiff’s Position as an Air Support Control Officer
 3          Plaintiff is a first lieutenant and Air Support Control Officer assigned to
 4   Marine Air Support Squadron 2 (“MASS-2”) at Marine Corps Air Station Futenma,

 5   Okinawa, Japan. FAC ¶ 1; App. 152-53 (Decl. of Jeremy W. Beaven ¶ 3). Air

 6   Support Control Officers “plan, direct, and coordinate air support missions in
     support of . . . operations[,]” and “are responsible for processing immediate requests
 7
     for close air support and medical evacuations, integrating aviation with other
 8
     supporting arms, and procedurally controlling aircraft throughout the . . . area of
 9
     operations.” Marine Officer MOS Assignment Handbook at 121, available at
10
     https://perma.cc/6SR6-MR2U; see also App. 153 (Beaven Decl. ¶ 3) (“They are
11
     commonly referred to as the Marine Corps’ ‘911 operators.’”). Plaintiff typically
12
     works in a 14 x 17 ft. office among 10 other Marines, though during training events
13   “he often works in more confined spaces[,]” and “could be in close proximity to up
14   to 150 individuals from a variety of military services, agencies, and nations.” App.
15   153 (Beaven Decl. ¶ 4); see FAC ¶ 58; Decl. of Scott M. Koltick ¶ 11, attached
16   hereto as Ex. G. He may “be called upon to establish a DASC on a highly remote
17   island under extremely austere conditions.” App. 153 (Beaven Decl. ¶ 4).
18          B. The Marine Corps’ Consideration of Plaintiff’s Exemption Request
19          Plaintiff requested a religious accommodation to exempt him from the
20   COVID-19 vaccination requirement based on his understanding that the vaccine is
21   derived from fetal stem cells, and because he objects to the use of mRNA

22   technology. FAC ¶ 39; see ECF No. 2-2 (Decl. of Mark Short) at 10-11. A chaplain
     and at least three officers in Plaintiff’s chain of command individually evaluated the
23
     request. ECF No. 2-2 (Short Decl.) at 7-9, 12-13. A religious accommodation
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     review board likewise considered Plaintiff’s request. Id. at 50; see also App. 163-
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     64 (Jeppe Decl. ¶ 6). Based on consideration of each of those evaluations and the
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     arguments made by Plaintiff, as well as other available information, the Assistant
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 1   Deputy Commandant for Manpower and Reserve Affairs initially denied the
 2   religious exemption request in October 2021. FAC ¶ 40; ECF No. 2-2 (Short Decl.)
 3   at 20. Plaintiff appealed. FAC ¶ 43; ECF No. 2-2 (Short Decl.) at 22-23.
 4         On February 15, 2022, the Assistant Commandant of the Marine Corps

 5   disapproved the appeal. FAC ¶ 44; ECF No. 2-2 (Short Decl.) at 66-69. He

 6   determined that the vaccination directive did not substantially burden Plaintiff’s
     sincere belief, in part because a non-mRNA vaccine is available. ECF No. 2-2
 7
     (Short Decl.) at 67. The Assistant Commandant further found that even if the
 8
     directive burdened a sincere belief, vaccination was the least restrictive means of
 9
     serving the Marine Corps’ compelling interests. See id. at 67-68 (considering
10
     Plaintiff’s arguments, working conditions, and service record; the evidence
11
     underlying vaccination; and the needs of the force). As the Assistant Commandant
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     explained to Plaintiff, “an exemption from the COVID-19 vaccination poses a
13   significant risk to military readiness, and the health and safety of the force,
14   particularly in your case, where you work primarily indoors and cannot perform
15   your duties as an air support control officer remotely.” Id. at 68. The Assistant
16   Commandant also noted that Plaintiff works in close proximity to others, is attached
17   to a deployable unit, and must be ready to deploy at a moment’s notice. Id. The
18   Assistant Commandant determined that the proposed less restrictive alternatives
19   were not as effective as vaccination and realistically incompatible with the demands
20   of military life. Id. On February 17, 2022, Plaintiff was given seven days to begin
21   a vaccination series. Id. at 70; FAC ¶ 45.

22   IV.   Procedural History

23         Plaintiff filed his Complaint on February 18, 2022, asserting as-applied

24   challenges to the military’s COVID-19 vaccination policies under RFRA, the First

25   Amendment, 10 U.S.C. § 1107a, and the APA. Compl. ¶¶ 34-70, ECF No. 1. That

26   same day, Plaintiff moved for a temporary restraining order and preliminary

27   injunction, seeking to enjoin the Navy and the Marine Corps from enforcing the

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 1   vaccine directive against Plaintiff and from “[t]aking any adverse action” against
 2   him on the basis of his vaccine refusal. ECF No. 2-4, at 1-2; ECF No. 2, at 2.
 3         On February 20, 2022, the Court granted Plaintiff’s ex parte application for a
 4   temporary restraining order. ECF No. 14, at 2. In doing so, “the Court emphasize[d]
 5   that its assessment of the merits is extremely limited at this stage[,]” and “merely
 6   conclude[d] that Plaintiff raises issues that warrant full briefing and oral argument,
 7   and a preservation of the status quo until then.” Id. at 2 n.2. The Court heard
 8   Plaintiff’s motion for a preliminary injunction on March 3, and denied the motion
 9   the same day. Order, ECF No. 25. On March 23, the Court denied Plaintiff’s ex
10   parte application for an expedited briefing schedule on a second motion for a
11   preliminary injunction (which Plaintiff did not ultimately file).       ECF No. 35.
12   Defendants moved to dismiss Plaintiff’s Complaint on May 16, ECF No. 47, and
13   Plaintiff amended his Complaint on May 24, ECF No. 49.2
14                                 LEGAL STANDARDS
15         On a motion to dismiss under Rule 12(b)(1), the plaintiff bears the burden of
16   establishing the court’s subject-matter jurisdiction. Bouyer v. Lavi, No. 20-cv-4764,
17   2020 WL 5802381, at *2 (C.D. Cal. Aug. 27, 2020). In deciding a Rule 12(b)(1)
18   motion, a court may consider materials outside the pleadings. White v. Lee, 227 F.3d
19   1214, 1242 (9th Cir. 2000). A court lacks subject-matter jurisdiction over claims
20   that are moot. Id.
21         A Rule 12(b)(6) motion tests whether a complaint “contain[s] sufficient
22   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
23
24   2
       Pursuant to a stipulation, the Court dismissed Plaintiff’s individual capacity claims
25   against Defendants on March 23. ECF No. 36. In his FAC, Plaintiff again asserts
     individual capacity claims against various federal officials. FAC ¶¶ 2-6. This
26   motion is filed on behalf of Defendants in their official capacity. Plaintiff has not
     identified a waiver of sovereign immunity concerning his request for damages
27   against such Defendants. FAC at 31; see Song v. Dep’t of Health & Hum. Servs.,
     No. 8:21-cv-00815-JLS-DFM, 2022 WL 1266658, at *1 (C.D. Cal. Apr. 28, 2022).
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 1   face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
 2   Twombly, 550 U.S. 544, 570 (2007)). While a complaint “does not need detailed
 3   factual allegations,” it “requires more than labels and conclusions, and a formulaic
 4   recitation of the elements of a cause of action will not do[.]” Twombly, 550 U.S. at
 5   555 (internal citations omitted). For purposes of a Rule 12(b)(6) motion, a court
 6   may consider “not only documents attached to the complaint, but also documents
 7   whose contents are alleged in the complaint, provided the complaint ‘necessarily
 8   relies’ on the documents or contents thereof, the document’s authenticity is
 9   uncontested, and the document’s relevance is uncontested.” Fraley v. Facebook,
10   Inc., 830 F. Supp. 2d 785, 795 (N.D. Cal. 2011). Additionally, the Ninth Circuit has
11   explained that “the doctrine of limited reviewability of certain military regulations
12   and decisions is a matter of justiciability,” and is therefore properly evaluated
13   pursuant to Rule 12(b)(6). Khalsa v. Weinberger, 779 F.2d 1393, 1395-96 (9th Cir.
14   1985), aff’d, 787 F.2d 1288 (9th Cir. 1985). In conducting that analysis, a court may
15   consider declarations or affidavits from military officials. Id. at 1400.
16                                       DISCUSSION
17   I.    Plaintiff’s Claims are Unreviewable.
18         A plaintiff challenging military decision-making must satisfy two threshold
19   elements before a court can determine whether review of his claims is appropriate:
20   the plaintiff must (1) allege a violation of a recognized constitutional right, a federal
21   statute, or a military regulation; and (2) exhaust available intraservice remedies.
22   Wenger v. Monroe, 282 F.3d 1068, 1072-73 (9th Cir. 2002), as amended on denial
23   of reh’g and reh’g en banc (Apr. 17, 2002) (citing Mindes v. Seaman, 453 F.2d 197
24   (5th Cir. 1971)). If a plaintiff meets both threshold requirements of the Mindes test,
25   the court weighs four factors in deciding whether a claim is reviewable: (1) the
26   nature and strength of the claim; (2) the potential injury to the plaintiff if review is
27   refused; (3) the extent of interference with military functions; and (4) the extent to
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 1   which military discretion or expertise is involved. Id. at 1073-75. The third and
 2   fourth factors are typically considered together. Id. at 1075.
 3         A. Plaintiff Has Not Met the Threshold Mindes Requirements
 4         Plaintiff fails to satisfy the threshold Mindes factor of exhaustion of available
 5   intraservice remedies.3 “Although he has received a decision on his appeal, he still
 6   must undergo separation proceedings before any permanent adverse consequences
 7   are imposed.” Order, ECF No. 25, at 5. The matter is currently pending before a
 8   team of judge advocates at Headquarters Marine Corps, who will screen the
 9   separation package for procedural completeness and legality prior to forwarding it
10   to the staff of the Deputy Commandant. Ex. G (Koltick Decl.) ¶¶ 7, 9. The Deputy
11   Commandant will consider the documentation and decide whether to retain Plaintiff
12   or recommend separation. Id.; App. 098 (Huntley Decl. ¶ 18); App. 156-57 (Beaven
13   Decl. ¶ 9); ECF No. 2-2 (Short Decl.) ¶ 14; see also MCO 5800.16 – V15, § 0110,
14   https://perma.cc/2GGL-3ZA3.         Any recommendation to separate would be
15   presented to the Assistant Secretary of the Navy, who will make a final decision on
16   separation and, if necessary, characterization of service. Ex. G (Koltick Decl.) ¶¶ 7-
17   9; SECNAVINST 1920.6D at 4 & encl. 10 § 6, https://perma.cc/K45F-ARZW. And
18   even if Plaintiff is separated, he may seek reinstatement from the Board for
19   Correction of Naval Records. App. 100-01 (Huntley Decl. ¶ 23); 10 U.S.C. § 1552;
20   see Christoffersen v. Wash. State Air Nat’l Guard, 855 F.2d 1437, 1442 (9th Cir.
21   1988). Accordingly, Plaintiff’s claims are not reviewable at this juncture. Order,
22   ECF No. 25, at 5; see also Diraffael v. Cal. Mil. Dep’t, No. 10-cv-07240, 2011 WL
23
24   3
       In a case outside the military context, the Ninth Circuit “decline[d] . . . to read an
     exhaustion requirement into RFRA where the statute contains no such condition.”
25   Oklevueha Native Am. Church of Hawaii, Inc. v. Holder, 676 F.3d 829, 838 (9th Cir.
     2012). But in military cases, courts must consider exhaustion regardless of the type
26   of claim asserted. Wenger, 282 F.3d at 1072-73; see Muhammad v. Sec’y of Army,
     770 F.2d 1494, 1495 (9th Cir. 1985); Thomas Short v. Berger, No. 22-cv-444, 2022
27   WL 1203876, at *10 (D. Ariz. Apr. 22, 2022) (distinguishing Oklevueha), appeal
     filed, No. 22-15755 (9th Cir. May 18, 2022).
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 1   13274364, at *2-3 (C.D. Cal. Mar. 21, 2011).
 2         Plaintiff suggests that he has fulfilled the exhaustion requirement because
 3   “none of these [additional] processes can remedy the denial of his religious
 4   accommodation request nor can they prevent his resulting involuntary separation
 5   from the Marine Corps.” FAC ¶ 50; see id. ¶ 9. That is incorrect, as the Deputy
 6   Commandant, Assistant Secretary, and Board for Correction of Naval Records may
 7   decide that Plaintiff should be retained notwithstanding his failure to follow a lawful
 8   order to be vaccinated. Ex. G (Koltick Decl.) ¶¶ 7-8; App. 100-01 (Huntley Decl.
 9   ¶ 23); see, e.g., Christoffersen, 855 F.2d at 1442; Bois v. Marsh, 801 F.2d 462, 468
10   (D.C. Cir. 1986); Order, ECF No. 25, at 5; Church v. Biden, --- F. Supp. 3d ---, 2021
11   WL 5179215, at *11 (D.D.C. Nov. 8, 2021).4
12         B. The Non-Threshold Mindes Factors Weigh Strongly Against Review
13                1.     First Mindes Factor: Nature and Strength of Claims
14         As explained below, Plaintiff’s “claims are meritless” and therefore deserve
15   little weight (if any), notwithstanding that one includes a First Amendment
16   challenge. Christoffersen, 855 F.2d at 1443-44; see also Khalsa, 779 F.2d at 1399
17   (concluding that the first factor disfavored review, because “if the district court had
18   reached the merits, appellant would have lost”).
19                       a.    RFRA
20         The Marine Corps’ denial of Plaintiff’s exemption request was consistent with
21   RFRA. “Under RFRA, the Federal Government may not . . . substantially burden a
22   person’s exercise of religion, ‘even if the burden results from a rule of general
23   applicability.’” Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546
24   U.S. 418, 424 (2006) (quoting 42 U.S.C. § 2000bb-1(a)). “The only exception
25
26   4
       In his FAC, Plaintiff does not assert that any exception to the exhaustion
27   requirement applies. Nor could he, as the Court previously explained. Order, ECF
     No. 25, at 5-6 (rejecting argument that exhaustion would be futile).
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 1   recognized by the statute requires the Government to satisfy the compelling interest
 2   test—to ‘demonstrat[e] that application of the burden to the person—(1) is in
 3   furtherance of a compelling governmental interest; and (2) is the least restrictive
 4   means of furthering that compelling governmental interest.’” Id. (quoting 42 U.S.C.
 5   § 2000bb-1(b)). As this Court found, requiring Plaintiff to be vaccinated furthers
 6   the compelling interests of military readiness and health and safety of service
 7   members, and is the least restrictive means of furthering those interests.
 8                              (1) The COVID-19 Vaccination Requirement
                                Furthers the Government’s Compelling Interests.
 9
10         “[W]hen evaluating whether military needs justify a particular restriction on
11   religiously motivated conduct, courts must give great deference to the professional
12   judgment of military authorities concerning the relative importance of a particular
13   military interest.” Goldman v. Weinberger, 475 U.S. 503, 507 (1986); see also
14   Austin v. U.S. Navy SEALs 1-26, 142 S. Ct. 1301, 1302 (2022) (mem.) (Kavanaugh,
15   J., concurring) (observing that a stay of a preliminary injunction was warranted
16   because the district court had “in effect inserted itself into the Navy’s chain of
17   command, overriding military commanders’ professional military judgments,” and
18   because “even accepting that RFRA applies in this particular military context, RFRA
19   does not justify judicial intrusion into military affairs in this case”); S. Rep. No. 103-
20   111, at 12 (1993), as reprinted in 1993 U.S.C.C.A.N. 1892, 1901 (deference
21   principles apply to RFRA claims).
22         Even if Plaintiff has set forth a sincerely held religious belief, requiring
23   Plaintiff to be vaccinated against COVID-19 furthers compelling military interests,
24   especially when evaluated against the backdrop of the substantial deference that
25   courts have always given to military operational decision-making. As the Supreme
26   Court has recognized, “[s]temming the spread of COVID-19 is unquestionably a
27   compelling interest.” Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63,
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 1   67 (2020) (per curiam). It is all the more compelling in the military, given the “vital
 2   interest” in maintaining a fighting force “that functions with maximum efficiency
 3   and is capable of easily and quickly responding to continually changing
 4   circumstances.” United States v. O’Brien, 391 U.S. 367, 381 (1968).
 5         The record demonstrates the military’s compelling interest in ensuring that
 6   Plaintiff is vaccinated against COVID-19. The members of Plaintiff’s unit work and
 7   train in close proximity to each other, cannot perform their duties remotely, and must
 8   be ready to deploy “at a moment’s notice[,]” including to austere environments and
 9   countries that have imposed COVID-19 entry restrictions. App. 153-55, 157-58
10   (Beaven Decl. ¶¶ 4-6, 10); see also ECF No. 2-2 (Short Decl.) at 7, 67-68; App. 166-
11   68 (Jeppe Decl. ¶¶ 14-16); Marine Corps Manual § 1005 ¶¶ l, 2.b,
12   https://perma.cc/US95-AGG3; FAC ¶ 58. As the Marine Corps explained, in
13   refusing the vaccine, Plaintiff unduly risks not only contracting COVID-19 and
14   becoming seriously ill, but also jeopardizing “the health and medical readiness of
15   other persons within [his] unit, which in turn decreases the military readiness of the
16   unit and the Marine Corps as a whole.” ECF No. 2-2 (Short Decl.) at 7, 67-68. His
17   refusal is also inconsistent with the United States’ foreign policy interests. App.
18   155-56 (Beaven Decl. ¶ 7).
19         These Plaintiff-specific considerations are supported by broader interests in
20   military readiness. There have been more than 415,000 COVID-19 cases within the
21   military; more than 2,600 service members have been hospitalized, and 95 have died.
22   Coronavirus: DOD Response, https://www.defense.gov/Spotlights/Coronavirus-
23   DOD-Response/.      Nearly all service members who have died were not fully
24   vaccinated. App. 143 (Decl. of Maj. Scott Stanley ¶ 3). COVID-19 has also affected
25   military “exercises, deployments, redeployments, and other global force
26   management activities”; caused the cancellation of numerous “major training events,
27   many of which involved preparedness and readiness training with our foreign
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 1   partners”; and “required significant operational oversight” by the most senior
 2   military leaders. Id. at 143-47 (Stanley Decl. ¶¶ 3-12). By contrast, vaccination has
 3   permitted higher levels of occupancy in DoD facilities and in-person training. Id. at
 4   147 (Stanley Decl. ¶ 14).     Accordingly, there can be no serious dispute that
 5   vaccination against COVID-19 serves compelling military interests. Order, ECF
 6   No. 25, at 9; see also, e.g., Navy SEAL 1 v. Austin, ---F. Supp. 3d---, 2022 WL
 7   1294486, at *9 (D.D.C. Apr. 29, 2022) (“[N]o court has ever held that the military
 8   does not have a compelling interest in the health of its troops, and no court has
 9   suggested that vaccination against harmful diseases does not serve a compelling
10   government interest.”), appeal filed, No. 22-5114 (D.C. Cir. May 5, 2022); Church,
11   2021 WL 5179215, at *18 (requiring vaccination is “supported by a lengthy record
12   replete with data demonstrating the necessity of a general vaccine mandate”).
13         Plaintiff asserts that vaccination is not necessary for readiness because
14   vaccines do not prevent infection or transmission of, or even death from, COVID-
15   19. FAC ¶¶ 63-68. But the military generally aligns its immunization requirements
16   with recommendations from the CDC, App. 013 (DoDI 6205.02 at 3), and the CDC
17   has found that although vaccinated people “can still become infected and have the
18   potential to spread the virus to others,” they do so “at much lower rates than
19   unvaccinated people,” CDC, Science Brief: COVID-19 Vaccines and Vaccination,
20   https://perma.cc/KGN4-QRUX; see also App. 115-16, 127-36 (Decl. of Col. Tonya
21   Rans ¶¶ 16, 30-40) (explaining that “[e]vidence continues to show that the incidence
22   of [COVID-19] infection, hospitalization, and death is higher in unvaccinated than
23   vaccinated people[,]” and vaccination remains the most effective means of
24   protection against the Omicron variant); Roth v. Austin, No. 8:22-cv-3038, 2022 WL
25   1568830, at *21 (D. Neb. May 18, 2022) (rejecting argument similar to Plaintiff’s);
26   Navy SEAL 1, 2022 WL 1294486, at *10 (“[T]he overwhelming weight of scientific
27   authority supports the proposition that COVID-19 vaccination reduces the severity
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 1   and duration of disease.”). And the military has an interest not only in preventing
 2   the spread of disease among its ranks, but also in ensuring that members do not get
 3   seriously ill, hospitalized, or die from diseases, especially while deployed. See App.
 4   105-14 (Rans Decl. ¶¶ 7-12); id. at 182-83 (Decl. of James Lee Hancock ¶ 6).
 5         Nor are the military’s interests diminished by the fact that “more than 97% of
 6   the Marine Corps is vaccinated.” FAC ¶ 125. The premise of this “herd immunity”
 7   argument is flawed. “The percentage of immune individuals needed to assure lack
 8   of sustained transmission in a group . . . has not been definitely established for”
 9   COVID-19. App. 187 (Hancock Decl. ¶ 13). Even if herd immunity had been
10   achieved, it is not as effective as vaccination at protecting a service member from
11   infection, preventing the spread of COVID-19, or combatting the disease. Id. at 121-
12   23 (Rans Decl. ¶¶ 24-26). As noted above, unvaccinated service members are at an
13   increased risk of infection and may spread the virus to others, and thus still pose an
14   undue risk of harm to maintaining a healthy force; for these reasons, the military has
15   not set any benchmark to cease immunization requirements based on herd immunity.
16   Id.; see Roth, 2022 WL 1568830, at *27 (“The Court concludes the ‘everyone else
17   did it so I don’t have to’ argument fails.”).
18         Plaintiff also asserts that “[b]ecause of [his] youth and excellent health, he is
19   highly unlikely to suffer a serious case of COVID-19.” FAC ¶ 62. But aside from
20   the risk that he might spread the infection to those less healthy, “it is a misguided
21   assumption that those who are otherwise healthy could not develop severe, or even
22   fatal, disease.” App. 105-06 (Rans Decl. ¶ 7).
23         Finally, Plaintiff points to examples of his past assignments and training in
24   support of his theory that the Marine Corps lacks a compelling interest in his
25   vaccination. FAC ¶¶ 51-61. At least three of those examples, however, appear to
26   have occurred before Marines were required to be vaccinated pursuant to ALNAV
27   062/21. Id. ¶¶ 51-53; Ex. G (Koltick Decl.) ¶ 13; see Order, ECF No. 25, at 13
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 1   (“[M]erely because the military has found ways to perform its duties despite the risks
 2   of COVID-19 does not mean it must endure these risks indefinitely when there are
 3   effective means of mitigating them.”); accord Roth, 2022 WL 1568830, at *28 (“The
 4   Air Force simply was not required to continue to ‘muddle through’ with less
 5   effective means once superior means of furthering its compelling interest, in the
 6   form of FDA-approved vaccines, were available.”). Plaintiff also undermines his
 7   own argument in highlighting not only that he has “regular personal contact with
 8   other Marines,” but also that he trains for many consecutive hours in “an enclosed,
 9   windowless room” occupied by as many as 60 people. FAC ¶¶ 57-58. Further,
10   participation in routine, on-island training—in close proximity to medical treatment
11   facilities—says nothing about the risk that an unvaccinated service member poses
12   should his unit be required to fulfill its mission upon deployment—or whether that
13   service member may even be permitted to deploy to a country with a COVID-19
14   vaccine entry requirement. Ex. G (Koltick Decl.) ¶ 13; see id. ¶ 14 (providing
15   additional context to Plaintiff’s allegations, including explaining that in April 2022
16   “1stLt Short was ineligible to deploy to Korea to participate with the primary
17   exercise component due to his unvaccinated status”); cf. Thomas Short, 2022 WL
18   1203876, at *13 (concluding that teleworking is not a less restrictive alternative to
19   vaccination “even though the leadership at MCAS Yuma has allowed Major Short
20   on a few recent occasions to interact with other Marines without taking mitigation
21   measures. These episodes do nothing to detract from the USMC’s broader,
22   compelling interest in avoiding the spread of COVID-19.”).
23         Consistent with its prior determination, and well as those of other courts, the
24   Court should thus conclude that Defendants have demonstrated the Marine Corps’
25   compelling interests in Plaintiff’s vaccination.
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 1                             (2) Vaccination is the Least Restrictive Means of
                               Furthering the Government’s Compelling Interests.
 2
 3         The Court should also again conclude that requiring Plaintiff to be vaccinated
 4   against COVID-19 is the least restrictive means of furthering the Marine Corps’
 5   compelling interests in ensuring that service members are as physically prepared as
 6   possible to execute their duties and in minimizing avoidable risks to mission success.
 7   In conducting this analysis, the Court asks whether the military could “achieve its
 8   compelling interest[s] to the same degree while exempting [Plaintiff] from
 9   complying” with the COVID-19 vaccination requirement. United States v. Christie,
10   825 F.3d 1048, 1061 (9th Cir. 2016); see Burwell v. Hobby Lobby Stores, Inc., 573
11   U.S. 682, 731 (2014) (examining whether alternative served interest “equally well”).
12   The answer to that question is plainly “no”: vaccines are singularly effective at
13   preventing COVID-19 infection and reducing the severity of illness. App. 182-83
14   (Hancock Decl. ¶ 6); ECF No. 2-2 (Short Decl.) at 67-68.
15         By contrast, in requesting a religious exemption, Plaintiff did not suggest any
16   specific less restrictive alternatives to vaccination. See ECF No. 2-2 (Short Decl.)
17   at 10-11, 68; see also Order, ECF No. 25, at 10. Plaintiff now asserts with respect
18   to his RFRA claim that “Defendants possess multiple lesser restrictive methods of
19   maintaining force readiness without Mark Short receiving the Comirnaty vaccine,
20   including temporarily transferring Mark Short to a non-deployable unit” or
21   “separat[ing] Short with an honorable discharge based on the convenience of the
22   government[.]” FAC ¶ 112. Plaintiff notably did not raise these alternatives at any
23   stage in the administrative process. ECF No. 2-2 (Short Decl.), at 10-11, 13, 22-23.
24   In any event, the Marine Corps has determined that its interest in readiness is not
25   furthered by transferring Plaintiff—who is trained as an Air Support Control Officer,
26   FAC ¶ 12—to a non-deployable unit, and Plaintiff can offer no basis to second-guess
27   that determination. See Schlanger v. United States, 586 F.2d 667, 671 (9th Cir.
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 1   1978) (“[F]ederal courts should not review internal military decisions such as duty
 2   orders or duty assignments.”). That is particularly true given the cumulative effects
 3   of transferring all Marines who object to the vaccine on religious grounds. See
 4   Order, ECF No. 25, at 6. Moreover, it is unclear why such a re-assignment would
 5   be “temporar[y],” FAC ¶ 112, given that Plaintiff is seeking a “permanent
 6   exemption,” ECF No. 2-2 (Short Decl.) at 10. Additionally, simply because a
 7   Marine serves in a non-deployable unit does not mean that the military lacks a
 8   compelling interest in his vaccination. Thomas Short, 2022 WL 1203876, at *13.
 9         As to Plaintiff’s theory regarding an honorable discharge, Defendants agree
10   that separating a service member who refuses a lawful order to be vaccinated
11   promotes the Marine Corps’ compelling interests, particularly insofar as it obviates
12   the possibility that the service member will transmit COVID-19 and cause others to
13   become seriously ill. But Plaintiff does not explain how the specific characterization
14   of service bears on the analysis regarding least restrictive means; improperly
15   attempts to dictate how the military must account for his failure to follow a lawful
16   order, see Davis v. Woodring, 111 F.2d 523, 525 (D.C. App. 1940); see also Ex. A
17   (MARADMIN 612/21 ¶ 4.b) (allowing for possibility of honorable discharge); and
18   fails to consider the cumulative effects of compelling the military to grant honorable
19   discharges for service members who similarly refuse to follow lawful orders.
20         Plaintiff also raises the possibility of masking and testing as less restrictive
21   alternatives. FAC ¶ 124.5 But that conclusory allegation is both untethered from
22   Plaintiff’s specific circumstances and simply incorrect.          As the Assistant
23   Commandant explained, “[w]hile masking, periodic testing, social distancing,
24   hygiene, teleworking, and other similar measures, individually or in combination,
25   have been shown to help slow the spread of the virus, they are simply not as effective
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     5
27     Plaintiff references these alternatives in connection with his First Amendment
     claim, but not his RFRA claim. Compare FAC ¶ 112 with id. ¶ 124.
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 1   as vaccination.” ECF No. 2-2 (Short Decl.) at 68. Further, “these measures are often
 2   incompatible with the demands of military life, where Marines and Sailors must live,
 3   work, realistically train, and, if necessary, fight in close quarters.” Id.; App. 153-54
 4   (Beaven Decl. ¶ 4); App. 182 (Hancock Decl. ¶ 5); see Roth, 2022 WL 1568830, at
 5   *23-24; Thomas Short, 2022 WL 1203876, at *13; ECF No. 18-1 (Hrg. Tr. 37-42,
 6   Dunn v. Austin, No. 2:22-cv-00288 (E.D. Cal. Feb. 22, 2022)). Nor would these
 7   measures permit Plaintiff to enter countries that bar unvaccinated foreigners. Ex. G
 8   (Koltick Decl.) ¶ 12.
 9         In sum, the military’s vaccine policy is narrowly tailored to serve compelling
10   military interests. Plaintiff’s RFRA claim thus fails.
11                       b.     First Amendment
12         Plaintiff’s First Amendment claim is also meritless. Neutral laws of general
13   applicability need not be justified by a compelling interest to satisfy the Free
14   Exercise Clause. Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508
15   U.S. 520, 531 (1993). Here, the Marine Corps’ vaccination requirement is facially
16   neutral toward religion: it requires all non-exempted service members to be fully
17   vaccinated, its terms “do not make any reference to religion,” and it was not
18   “implemented with the aim of suppressing religious belief.” Doe v. San Diego
19   Unified Sch. Dist., 19 F.4th 1173, 1177 (9th Cir. 2021).
20         Plaintiff asserts that the Marine Corps’ directive is “not neutral and generally
21   applicable” because it “grant[s] exemptions for non-religious reasons on more
22   favorable terms than religious reasons” and “allow[s] exemptions for service
23   members already participating in COVID-19 vaccine trials.” FAC ¶ 122; see id.
24   ¶¶ 75-78. But that argument is entirely unpersuasive. The Marine Corps’ objective
25   in requiring vaccination is to ensure a maximally healthy force. Vaccinating
26   someone for whom a vaccine is medically contraindicated would undermine, not
27   further, that goal. App. 091-92 (Huntley Decl. ¶¶ 9-11); id. at 185-86 (Hancock
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 1   Decl. ¶¶ 10-11); Navy SEAL 1, 2022 WL 1294486, at *12. Indeed, the Ninth Circuit
 2   has already rejected the same argument Plaintiff presses here, explaining that
 3   medical exemptions for students with contraindications to COVID-19 vaccines
 4   “serve[] the primary interest for imposing the mandate—protecting student ‘health
 5   and safety’”—thereby furthering relevant government interests even where no
 6   religious exemptions whatsoever are offered. Doe, 19 F.4th at 1178; see also We
 7   the Patriots USA, Inc. v. Hochul, 17 F.4th 266, 285 (2d Cir. 2021) (per curiam),
 8   clarifying, 17 F.4th 368 (2d Cir. 2021); Does 1-6 v. Mills, 16 F.4th 20, 30-31 (1st
 9   Cir. 2021); Order, ECF No. 25, at 11-12. And the inability of some members to
10   receive the vaccine for a period of time only increases the Marine Corps’ compelling
11   interest in maximizing the vaccination of other service members to prevent the
12   spread of the disease. See Order, ECF No. 25, at 7-8, 13.
13         Plaintiff’s First Amendment argument is factually flawed as well.          His
14   suggestion that non-religious exemptions are granted more readily than religious
15   exemptions is contradicted by declarations submitted by Defendants. App. 090-94
16   (Huntley Decl. ¶¶ 7-12) (discussing differences between medical and religious ex-
17   emption requests); id. at 186-87 (Hancock Decl. ¶¶ 11-12) (addressing Plaintiff’s
18   misunderstanding of the medical exemption process). Furthermore, the Marine
19   Corps is granting mostly temporary medical exemptions. App. 171-78; Order, ECF
20   No. 25, at 7-8; see Doe, 19 F.4th at 1179 (due to its “temporary duration,” a 30-day
21   exemption did not “undermine” a school district’s “interests in student health and
22   safety the way a religious exemption would”).6 Similarly, the Marine Corps has
23   temporarily granted exemptions to those participating in vaccine trials, with the
24
25   6
      Plaintiff’s allegations also indicate that the number of such exemptions is trending
26   downward. See FAC ¶ 77 (alleging 947 medical and administrative exemptions as
     of April 13, 2022); Weekly COVID-19 Update, https://perma.cc/US3T-WQWD
27   (872 such exemptions as of May 4, 2022); Monthly COVID-19 Update,
     https://perma.cc/2VBB-2AX4 (742 such exemptions as of June 1, 2022).
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 1   expectation that participants will eventually become vaccinated.         App. 081
 2   (MARADMIN 462/21 ¶ 3.j.7); see also id. at 185-86 (Hancock Decl. ¶ 10).
 3   Plaintiff’s religious beliefs, by contrast, are permanent, ECF No. 2-2 (Short Decl.)
 4   at 10, as presumably are those of the thousands of other Marines who have requested
 5   religious exemptions from the COVID-19 vaccination requirement, App. 175. Like
 6   Plaintiff, many of these service members likely work in deployable units or in close
 7   physical contact with others for extended periods of time. As the Court recognized,
 8   Order, ECF No. 25, at 6, granting all the requests would force the military to allow
 9   thousands of unvaccinated Marines to serve, risking the spread of disease,
10   hospitalizations, and death within multiple units. See ECF No. 2-2 (Short Decl.) at
11   67-68; App. 166-69 (Jeppe Decl. ¶¶ 14-18); see also Doe, 19 F.4th at 1179; We the
12   Patriots, 17 F.4th at 286; Thomas Short, 2022 WL 1203876, at *14-15. Plaintiff
13   also fails to acknowledge that service members who are unvaccinated for any reason
14   are subject to certain restrictions and may be separated if not deployable for 12
15   months. App. at 185-86 (Hancock Decl. ¶¶ 11-12); Marine Corps Order 1900.16,
16   Ch. 2 §§ 1601-03, https://perma.cc/6A8K-P6JC.
17         Plaintiff’s argument also overlooks the Supreme Court’s recognition that
18   “review of military regulations challenged on First Amendment grounds is far more
19   deferential than constitutional review of similar laws or regulations designed for
20   civilian society.” Goldman, 475 U.S. at 507. Accordingly, “when a member of the
21   military challenges a regulation or policy of the military on Free Exercise grounds,
22   courts should normally apply a level of scrutiny below that of strict scrutiny and
23   evidently comparable to rational basis review.” Navy SEAL 1, 2022 WL 1294486,
24   at *13. In light of Defendants’ detailed showing as to why a vaccination mandate is
25   necessary to serve compelling interests in military readiness and protecting the
26   health of a military force, see supra at 11-15, the Marine Corps’ directive readily
27   survives both the review contemplated by Goldman and strict scrutiny.
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                                             20
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 1                       c.    10 U.S.C. § 1107a
 2         In Count III of his FAC, Plaintiff challenges the specific vaccine dose offered
 3   to him, asserting that he has inquired about the availability of Comirnaty-labeled
 4   doses and that any other doses violate his statutory rights. FAC ¶¶ 47, 131-32; see
 5   id. ¶¶ 98-100. However, on June 2, 2022, Defendants offered Plaintiff doses of the
 6   Comirnaty-labeled COVID-19 vaccine. Ex. H, attached hereto. Although Plaintiff
 7   has not indicated whether he will accept Defendants’ offer, that offer renders Count
 8   III moot. See, e.g., Gator.com Corp. v. L.L. Bean, Inc., 398 F.3d 1125, 1129 (9th
 9   Cir. 2005) (en banc) (explaining that the central question when analyzing mootness
10   “is ‘whether changes in the circumstances that prevailed at the beginning of litigation
11   have forestalled any occasion for meaningful relief’” (citation omitted)).
12         Count III also fails because Plaintiff lacks a private right of action under
13   § 1107a. There must be “clear evidence” of “congressional intent to create” such a
14   right. Logan v. U.S. Bank Nat’l Ass’n, 722 F.3d 1163, 1169 (9th Cir. 2013). Where
15   the necessary intent is absent, “a cause of action does not exist and courts may not
16   create one.” Alexander v. Sandoval, 532 U.S. 275, 286-87 (2001). Here, neither
17   § 1107a nor the Federal Food, Drug, and Cosmetic Act (“FDCA”) provides a waiver
18   of sovereign immunity or a cause of action for Plaintiff, FAC ¶¶ 129-33. See, e.g.,
19   Crosby v. Austin, No. 8:21-cv-2730, 2022 WL 603784, at *1-2 (M.D. Fla. Mar. 1,
20   2022); Doe ex rel. Doe v. Franklin Square Union Free Sch. Dist., -- F. Supp. 3d --,
21   2021 WL 4957893, at *20 (E.D.N.Y. Oct. 26, 2021), withdrawing appeal, 2022 WL
22   1316221 (2d Cir. Mar. 17, 2022); Bridges v. Hous. Methodist Hosp., 543 F. Supp.
23   3d 525, 527 (S.D. Tex. 2021), appeal filed, No. 21-2031 (5th Cir. June 14, 2021).
24   Instead, the FDCA reserves exclusive enforcement authority to the United States,
25   with one limited exception for state enforcement. 21 U.S.C. § 337(a); Guilfoyle v.
26   Beutner, No. 2:21-cv-05009, 2021 WL 4594780, at *26-27 (C.D. Cal. Sept. 14,
27   2021). Nor can Plaintiff overcome this defect by referencing the ultra vires doctrine,
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                                               21
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 1   particularly as he is asserting an APA claim. See, e.g., Las Americas Immigrant
 2   Advoc. Ctr. v. Biden, ---F. Supp. 3d---, 2021 WL 5530948, at *7 (D. Or. Nov. 24,
 3   2021) (nonstatutory review was “inappropriate” because “Plaintiffs are able to, and
 4   in fact do, bring their case based on the specific review provisions of the APA”).7
 5         In any event, Plaintiff’s claim fails on the merits. Congress has given the
 6   military wide latitude to establish a vaccination program for the welfare of the
 7   troops. See 10 U.S.C. §§ 113(b), 7013(b)(9), 8013(b)(9), 9013(b)(9). To be sure,
 8   10 U.S.C. § 1107a places conditions on that authority: it requires a presidential
 9   waiver of a notification requirement if the military seeks to require service members
10   to take products authorized only for “emergency use.” But “[t]he law only requires
11   that [Plaintiff] have been informed that he has a choice whether to get the vaccine or
12   not and to be told of what consequences may follow if he decides to not get the
13   vaccine.” Order at 3, ECF No. 9, Miller v. Austin, No. 4:22-cv-01739 (S.D. Tex.
14   June 1, 2022), attached hereto as Ex. J. Plaintiff does not allege that he was not so
15   informed. Moreover, DoD’s directive does not implicate § 1107a because service
16   members are only required to receive “COVID-19 vaccines that receive full
17   licensure . . . in accordance with FDA-approved labeling and guidance[,]” App. 004
18   (Mem. for Senior Pentagon Leadership), a directive mirrored in implementation
19   guidance from the Navy and Marine Corps, id. at 075 (ALNAV 062/21 ¶ 3); id. at
20   079 (MARADMIN 462/21 ¶ 3.b). FDA approved the Pfizer-BioNTech COVID-19
21   vaccine under the name Comirnaty for its intended use by people aged 16 years and
22   older. Ex. B (Pfizer BLA Approval) at 2. In its contemporaneous reissuance of
23
     7
24     Plaintiff cannot advance his argument by relying on 21 U.S.C. § 355, 21 U.S.C.
     § 360bbb-3, or DoDI 6200.02. See FAC ¶ 131. As an initial matter, none provides
25   a cause of action to Plaintiff. Further, the approval of a BLA under the Public Health
     Service Act (“PHSA”), 42 U.S.C. § 262(a)(2)(C), is not governed by the standards
26   for a New Drug Application under the FDCA, see 21 U.S.C. § 355. Similarly, DoDI
     6200.02 is inapplicable to the COVID-19 vaccine mandate, given that the vaccine is
27   approved by FDA and is not being administered as part of a clinical investigation.
     See DoDI 6200.02 at 2, attached hereto as Ex. I.
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                                              22
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 1   Pfizer’s EUA, FDA determined that “[t]he licensed vaccine has the same
 2   formulation as the EUA-authorized vaccine and the products can be used
 3   interchangeably to provide the vaccination series without presenting any safety or
 4   effectiveness concerns.” Ex. C (Pfizer EUA Letter) at 2 n.8; see Compl. ¶ 13. DoD’s
 5   determination to “use doses distributed under the EUA to administer the vaccination
 6   series as if the doses were the licensed vaccine[,]” Ex. E (Acting Assistant Secretary
 7   of Defense Mem.), is thus consistent with § 1107a.
 8         In addition, vaccines produced at facilities listed in Pfizer’s BLA and released
 9   in accordance with BLA requirements are manufactured in compliance with the
10   BLA; “EUA-labeled lots that had also undergone CBER lot release according to the
11   BLA would be considered BLA-compliant.” Ex. D (SBRA) at 27; see also HCP
12   Letter,     https://www.cvdvaccine-us.com/16-up-yearsold/resources             (under

13   “Important Lot Information” & “Additional Lot Details”). Plaintiff was offered a
     dose of the BLA-compliant vaccine months ago. ECF No. 32-1, at 7. Plaintiff,
14
     however, declined that offer, id. at 5, further undercutting his statutory claim, see
15
     Navy Seal 1 v. Biden, ---F. Supp. 3d---, 2021 WL 5448970, at *3 (M.D. Fla. Nov.
16
     22, 2021); see also, e.g., Doe #1–#14 v. Austin, --- F. Supp. 3d ---, 2021 WL
17
     5816632, at *6 (N.D. Fla. Nov. 12, 2021); Crosby, 2022 WL 603784, at *2; Norris
18
     v. Stanley, 558 F. Supp. 3d 556, 559-60 (W.D. Mich. 2021).
19
                        d.     APA
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           Plaintiff can “point to no prior case in which an APA-based challenge to an
21
     internal military policy survived Mindes scrutiny.” Kuang v. DoD, 778 F. App’x
22
     418, 420 (9th Cir. 2019). While that alone indicates that Plaintiff’s APA claim is
23
     not reviewable, see id., his argument fails on other grounds as well.
24
           First, Plaintiff has failed to allege the requisite agency action for APA review.
25
     The APA expressly limits judicial review to “final agency action,” 5 U.S.C. § 704,
26
     which is “circumscribed” and “discrete[,]” Norton v. S. Utah Wilderness All., 542
27
     U.S. 55, 62 (2004); see 5 U.S.C. § 551. Plaintiff here asserts that “[t]he vaccine
28
                                              23
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 1   mandates, accompanying guidance, and Defendants’ actions implementing the
 2   Vaccine Mandates are arbitrary, capricious, and an abuse of discretion[.]” FAC
 3   ¶ 136. Such “vague and non-specific allegations challenging [Defendants’] overall
 4   ‘implementation’ . . . plainly ‘lack the specificity requisite for agency action.’”
 5   Banner Health v. Sebelius, 797 F. Supp. 2d 97, 110 (D.D.C. 2011) (citation omitted).
 6   They also fail basic pleading requirements. Twombly, 550 U.S. at 570.
 7         Assuming Plaintiff’s APA claim is based on his theory of informed consent,
 8   see FAC ¶ 137,8 that is moot and otherwise deficient for the reasons stated above,
 9   supra at 21-23. It also fails because Plaintiff is not within the zone of interests of 10
10   U.S.C. § 1107a. “[A] person suing under the APA must satisfy not only Article III’s
11   standing requirements, but an additional test—The interest he asserts must be
12   arguably within the zone of interests to be protected or regulated by the statute that
13   he says was violated.” Havasupai Tribe v. Provencio, 906 F.3d 1155, 1166 (9th Cir.
14   2018) (citation omitted). Here, § 1107a is concerned with the health and safety of
15   service members, and it cannot reasonably be assumed that, in “[t]he particular
16   language of” § 1107a, “Congress intended to protect” outright objection to a vaccine
17   on religious grounds regardless of whether it is FDA approved. See Air Courier
18   Conf. of Am. v. Am. Postal Workers Union, AFL-CIO, 498 U.S. 517, 524-25 (1991).
19
     8
20     Plaintiff may not litigate his religious freedom claims through the APA, as RFRA
     provides an “adequate remedy” for such a challenge. See 5 U.S.C. § 704. Further,
21   the Secretary’s August 24, 2021 memorandum readily survives the highly
     deferential standard of review that would apply in the APA context, see, e.g., FCC
22   v. Prometheus Radio Proj., 141 S. Ct. 1150, 1158 (2021); Gilligan v. Morgan, 413
     U.S. 1, 10 (1973), particularly as the vaccination requirement aligns with the CDC’s
23   recommendation, App. 013 (DoDI 6205.02 at 3); App. 120 (Rans Decl. ¶ 20); the
     Secretary relied on the rise in COVID-19 infection rates due to the Delta variant; he
24   “careful[ly] consult[ed] with medical experts and military leadership”; FDA licensed
     the vaccine; and the Secretary determined that “mandatory vaccination against
25   coronavirus disease 2019 (COVID-19) is necessary to protect the Force and defend
     the American people[,]” App. 004 (Mem. for Senior Pentagon Leadership).
26   Accordingly, the Secretary’s decision is reasonable and consistent with DoD policy,
     as reflected in the documents submitted by Plaintiff himself. Cf. Navy SEAL 1, 2022
27   WL 1294486, at *6-12; Thomas Short, 2022 WL 1203876, at *13; Order, ECF No.
     25, at 10; Mazares v. Dep’t of the Navy, 302 F.3d 1382, 1385 (Fed. Cir. 2002).
28
                                                24
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 1   As Plaintiff’s objection is a religious one, he is outside the statutory zone of interests.
 2                2.     Second Mindes Factor: Potential Injury
 3         As the Court concluded, “any harms Plaintiff will face are not irreparable or
 4   certain to occur.” Order, ECF No. 25, at 6; see id. at 13-14. Consequently, “[t]he
 5   second [Mindes] factor weighs against judicial review.” Id. at 6; see also, e.g., Payne
 6   v. United States, 88 F. App’x 281, 281 (9th Cir. 2004); Schlanger, 586 F.2d at 671.
 7                3.     Third and Fourth Mindes Factors: Interference with
                         Military Discretion and Expertise
 8
           Finally, the third and fourth Mindes factors weigh decidedly in Defendants’
 9
     favor. As the Court explained, “[f]orcing the USMC to adjust to the risks of
10
     including unvaccinated Marines in its ranks is a substantial interference.” Order,
11
     ECF No. 25, at 6; see Thomas Short, 2022 WL 1203876, at *16 (“The Court
12
     emphatically agrees with this analysis and adopts it here.”); accord Navy SEAL 1,
13
     2022 WL 1294486, at *6; cf. Kuang, 778 F. App’x at 421; Sebra v. Neville, 801 F.2d
14
     1135, 1142 (9th Cir. 1986). Plaintiff’s claims are thus non-reviewable under Mindes.
15
     II.   Counts II, III, and IV Otherwise Fail.
16
           Even if the Court were to conclude that Plaintiff’s claims were reviewable, it
17
     should nonetheless dismiss Counts II, III, and IV of the FAC. Plaintiff’s First
18
     Amendment claim fails because the Marine Corps’ decision satisfies the deferential
19
     standard of review that applies. See supra at 18-20. Plaintiff’s claim under 10
20
     U.S.C. § 1107a should be dismissed because it is moot, Plaintiff lacks a cause of
21
     action, and Defendants have satisfied any statutory obligations. See supra at 21-23.
22
     Plaintiff’s APA claim should be dismissed for similar reasons, and because (1)
23
     Plaintiff has not identified a discrete agency action, and (2) Plaintiff is not within the
24
     zone of interests of § 1107a. See supra at 23-25.
25
                                         CONCLUSION
26
           The Court should grant Defendants’ motion to dismiss.
27
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                                                 25
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 1   Dated: June 17, 2022             Respectfully submitted,
 2
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 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on the 17th day of June 2022, I electronically
 3   transmitted the foregoing document to the Clerk of Court using the ECF System
 4   for filing.

 5
 6
 7
                                                         /s/ Stuart J. Robinson
 8                                                       STUART J. ROBINSON
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